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UNITED STATES DISTRICT COURT Ted one cAO-FRRE 1 og:

EASTERN DISTRICT OF NEW YORK ( 4 pv
UNITED STATES OF AMERICA, mee eel OPO
Plaintiff, ORDER OF REFERRAL
- against - CR- 05-0611
JAMES ZIMBLER,
Defendant.
x
FEUERSTEIN, J.

The defendant, JAMES ZIMBLER, having applied for permission to enter a plea of
guilty, and having consented to have a United States Magistrate Judge hear the application, the
Court refers the matter to Magistrate Judge Arlene R. Lindsay to administer the allocution
pursuant to F.R. Crim. P. Rule 11, and to make (a) a finding as to whether the plea is knowingly

and voluntarily made and not coerced, and (b) a recommendation as to whether the plea of guilty

so oybereb:

Sandra J. Fedfstein
United States District Judge

should be accepted.

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Dated: Long Island, New York
January 4, 2006

CONSENTED TO: hr
perenpant: _{ QW .

ATTORNEY FOR pefexpanr LZ.

